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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Arguelles M.D., P.C., as Assignee of JOSEPH DORCEAN, Appellant, &nbsp;

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;Omni Indemnity Company, Respondent.&lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

 

&lt;p&gt;Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered June 14, 2013. The order granted defendant's motion for summary judgment dismissing the complaint.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the order is affirmed, with $25 costs.&lt;/p&gt; 

&lt;p&gt;For the reasons stated in &lt;i&gt;Arguelles M.D., P.C. as Assignee of Marie Francoeur v Omni Indem. Co.&lt;/i&gt; (
 [appeal No. 2013-1541 Q C], decided herewith), the order is affirmed.&lt;/p&gt; 

&lt;p&gt;Pesce, P.J., Aliotta and Elliot, JJ., concur.&lt;/p&gt; 

&lt;br&gt;Decision Date: March 30, 2016 

 

 

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